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 1                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO
 2
 3        UNITED STATES OF AMERICA,
 4
          Plaintiff,
 5
          v.
 6                                                                  CRIMINAL.: 11-345 (DRD)
 7        [21] JAIME RIVERA-RAMOS,

 8        Defendant.
 9
                        MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
10                          RE: RULE 11 PROCEEDINGS (PLEA OF GUILTY)
11
     I.         Procedural Background
12
                On September 8, 2011, a grand jury returned an indictment against Jaime Rivera-Ramos
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     (hereinafter referred to as “defendant”) and other individuals. (Docket No. 3.) The defendant has agreed
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     to plead guilty to count one of the indictment. Count one charges that beginning on a date unknown, but
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     no later than in or about 2008, and continuing up to and until the return of the indictment, in the
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     Municipality of Ceiba, in the District of Puerto Rico, elsewhere and within the jurisdiction of this court,
17
     [21] Jaime Rivera-Ramos did knowingly and intentionally, combine, conspire, and agree with other
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     persons known and unknown to the grand jury, to commit an offense against the United States, that is,
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     to possess with intent to distribute one (1) kilogram or more of a mixture or substance containing a
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     detectable amount of heroin, a Schedule I Narcotic Drug Controlled Substance; two-hundred and eighty
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     (280) grams or more of a mixture or substance containing a detectable amount of cocaine base (“crack”),
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     a Schedule II Narcotic Drug Controlled Substance; five (5) kilograms or more of a mixture or substance
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     containing a detectable amount of cocaine, a Schedule II Narcotic Drug Controlled Substance; a
24
     measurable amount of a mixture or substance containing a detectable amount of marijuana, a Schedule
25
     I Controlled Substance; a mixture or substance containing detectable amount of Oxycodone (commonly
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     known as Percocet), a Schedule II Controlled Substance; and a mixture or substance containing a
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     detectable amount of Alprazolam (commonly known as Xanax), a Schedule IV Controlled Substance, all
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 1                                                        2
 2   within one thousand (1,000) feet of the real property comprising a housing facility owned by a public
 3   housing authority, that is, the Jardines de Ceiba Public Housing Project and other areas within the
 4   Municipality of Ceiba, Puerto Rico, all in violation of Title 21, United States Code, Sections 846,
 5   841(a)(1) and 860.
 6   II.      Consent to Proceed Before a Magistrate Judge
 7            On February 25, 2013, while assisted by counsel, the defendant, by consent, appeared before the
 8   undersigned in order to change his previous not guilty plea to a plea of guilty as to count one of the
 9   indictment. In open court the defendant was questioned as to the purpose of the hearing being held and
10   was advised of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries were to be
11   conducted under oath and that it was expected that his answers would be truthful; (c) the potential
12   consequences of lying under oath (such as a perjury charge); and (d) his right to have the change of plea
13   proceedings presided by a district judge instead of a magistrate judge. The defendant was also
14   explained the differences between the appointment and functions of the two. The defendant consented
15   to proceed before the undersigned magistrate judge.
16   III.     Proceedings Under Rule 11, Federal Rules of Criminal Procedure
17            A.     Rule 11(c)(1) Requirements
18                    Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of
              guilty pleas to federal criminal violations. Pursuant to Rule 11, in order for a plea of
19            guilty to constitute a valid waiver of the defendant’s right to trial, guilty pleas must be
              knowing and voluntary: “Rule 11 was intended to ensure that a defendant who pleads
20            guilty does so with an ‘understanding of the nature of the charge and consequences of
              his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting
21            McCarthy v. United States, 394 U.S. 459, 467 (1969)). [There are three core concerns
              in these proceedings]: 1) absence of coercion; 2) understanding of the charges; and 3)
22            knowledge of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
              F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st Cir. 1991)).
23
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
24
              B. Admonishment of Constitutional Rights
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              To assure defendant’s understanding and awareness of his rights, defendant was advised of his
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     right:
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 1                                                         3
 2            1.   To remain silent at trial and be presumed innocent, since it is the government who has the
 3    burden of proving his guilt beyond a reasonable doubt.
 4            2.   To testify or not to testify at trial, and that no adverse inference could be made in relation
 5    to his decision not to testify.
 6            3.   To a speedy trial before a district judge and a jury, at which he would be entitled to see and
 7    cross examine the government witnesses, present evidence on his behalf, and challenge the
 8    government’s evidence.
 9           4.    To have a unanimous verdict rendered by a jury of twelve persons which would have to be
10 convinced of defendant’s guilt beyond a reasonable doubt by means of admissible evidence.
11           5.    To use the subpoena power of the court to compel the attendance of witnesses.
12           Upon listening to the defendant’s responses, observing his demeanor and his speaking with his
13 attorney, that to the best of counsel’s belief defendant had fully understood his rights, it is determined
14 that defendant is aware of his constitutional rights.
15           C. Consequences of Pleading Guilty
16           Upon advising defendant of his constitutional rights, he was further advised of the consequences
17 of pleading guilty. Specifically, defendant was advised that by pleading guilty and upon having his
18 guilty plea accepted by the court, he will be giving up the above rights and will be convicted solely on
19 his statement that he is guilty.
20           In response to further questioning, defendant was explained and he understood that if convicted
21 on count one as charged he will face the following penalties: a term of incarceration which shall not be less
22 than ten (10) years or more than twice life imprisonment, a fine not to exceed $20,000,000, and a term of
23 supervised release of at least ten (10) years. However, if the court accepts the defendant’s guilty plea and
24 if the court accepts the amount of narcotics stipulated by the parties in the plea agreement, that is less than
25 fifty (50) kilograms of marihuana, the penalty for the offense shall be not more than the following: a
26 maximum term of imprisonment of ten (10) years, a fine not to exceed $500,000, and a term of supervised
27 release of at least four (4) years.
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 1                                                              4
 2              The defendant was also explained what the supervised release term means and that if he violates
 3 the conditions of supervised release, that privilege could be revoked and he could be required to serve
 4 an additional term of imprisonment. He was also explained that parole has been abolished. In addition,
 5 defendant was made aware that the court must impose a mandatory penalty assessment of one hundred
 6 dollars ($100) per offense pursuant Title 18, United States Code, Section 3013(a).
 7              D. “Type C” Plea Agreement1
 8              The parties have entered into a written plea agreement that, upon being signed by the
 9 government, defense attorney and defendant, was filed and made part of the record. Defendant was
10 clearly warned and recognized having understood that the court may accept or reject the plea agreement,
11 or may defer its decision whether to accept or reject the plea agreement until it has considered the pre-
12 sentence report. If the court rejects the plea agreement, the court will inform the parties of this fact and
13 afford the defendant an opportunity to withdraw the guilty plea and advise the defendant that if he
14 persists in a guilty plea, the disposition of the case may be less favorable to the defendant than the
15 defendant contemplated in the plea agreement. Defendant acknowledged having understood these
16 explanations and all the terms and conditions of the plea agreement.
17              E. Government's Evidence (Basis in Fact)
18              The government presented a summary of its evidence consistent with the version of facts of the
19 plea agreement with which the defendant concurred. Accordingly, it is determined that there is a basis
20 in fact and evidence to establish all the elements of the offense charged.
21              F. Voluntariness
22              The defendant accepted that no threats had been made to induce him to plead guilty and that he
23 did not feel pressured to plead guilty.
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                      “Plea agreement” refers to the agreement and its supplement.
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 1                                                       5
 2            G. Waiver of Appeal
 3            The defendant was explained, and he understood, that if the court accepts the plea agreement and
 4 sentences him according to its terms and conditions, he will be surrendering his right to appeal the
 5 sentence and judgment in this case.
 6 IV.        Conclusion
 7            The defendant, by consent, has appeared before me pursuant to Rule 11, Federal Rules of
 8 Criminal Procedure, and has entered a plea of guilty as to count one of the indictment. After cautioning
 9 and examining the defendant under oath and in open court, concerning each of the subject matters
10 mentioned in Rule 11, as described in the preceding sections, I find that defendant Jaime Rivera-Ramos
11 is competent to enter this guilty plea, is aware of the nature of the offense charged and the maximum
12 statutory penalties that the same carries, understands that the charge is supported by the government’s
13 evidence, has admitted to every element of the offense charged, and has done so in an intelligent and
14 voluntary manner with full knowledge of the consequences of his guilty plea. Therefore, I recommend
15 that the court accept the guilty plea of the defendant and that the defendant be adjudged guilty as to count
16 one.
17            This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B). Any objections
18 to the same must be specific and must be filed with the Clerk of Court within fourteen (14) days of its
19 receipt.     Fed. R. Civ. P. 72(b).      Failure to timely file specific objections to the report and
20 recommendation is a waiver of the right to review by the district court. United States v. Valencia-
21 Copete, 792 F.2d 4 (1st Cir. 1986).
22            SO RECOMMENDED.
23            In San Juan, Puerto Rico, this 28th day of February, 2013.
24
                                                    s/Marcos E. López
25                                                  U. S. MAGISTRATE JUDGE
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